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                  UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION
   __________________________________________________________________
                                  )
GEOFFREY CALHOUN, et al.          )
                                  )
                                  )
      Plaintiffs,                 )
                                  ) Civil Action
             v.                   ) File No. 1:09-CV-3286-TCB
                                  )
                                  )
RICHARD PENNINGTON, et al.        )
                                  )
      Defendants.                 )
   __________________________________________________________________



        PLAINTIFFS’ MOTION TO IMPOSE SUSPENDED SANCTIONS
             AND PREDETERMINED COERCIVE SANCTIONS


      COME NOW Plaintiffs, who move this Court to impose certain of the

suspended and predetermined coercive sanctions set forth in this Court’s Order

of March 1, 2023 (Doc. 492, the “Contempt Order”) because the City of Atlanta:

(1) Failed to finally adjudicate long-overdue Citizen Complaints within the 60-

day period provided by this Court in Section I(B) of the Contempt Order (and

then submitted false records claiming to have done so); and (2) Submitted

massive amounts of inaccurate information to Plaintiffs, including a false

complaint date for 72 of 76 Citizen Complaints; a false closing date for at least 48

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and possibly as many as 80 Citizen Complaints; and dozens of items of

inaccurate information regarding the allegations, disposition, and discipline

imposed with regard to Citizen Complaints, triggering the sanctions set forth in

Sections I(E) and I(F) of the Contempt Order.1


   I.      The City of Atlanta’s non-compliance with the 60-Day complaint
           resolution deadline imposed by the Court in Section I(B) of the
           Contempt Order

        At the core of this contempt proceeding is the City of Atlanta’s

longstanding failure to comply with its obligation to finally adjudicate all

“Citizen Complaints” of police misconduct within 180 days. 2 Since the City first

consented to this obligation in 2010, it has never complied with this requirement,

and instead (despite repeated warnings) the City allowed a years-long backlog of

unresolved Citizen Complaints to develop, eventually leading to Plaintiffs’

motions for contempt.




1 Plaintiffs have reason to believe that the City of Atlanta also violated its

obligation to report “Command Complaints,” triggering the sanctions set forth in
Section I(G) of the Contempt Order, but as those possible violations require
additional discovery they are not presented in this motion.
2 “APD shall investigate and finally adjudicate all citizen complaints of police

misconduct of any kind within 180 days of the complaint.” 11/29/2018 Court
Order, Section III(A)(1).



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      In response to Plaintiffs’ First Motion for Contempt (Doc. 473) this Court

gave the City of Atlanta 120 days to clear this backlog. (9/20/2022 Court Order,

Doc. 479) When the City failed to comply within this grace period -- and instead

submitted false information to the Court regarding compliance -- the Plaintiffs

filed their Second Motion for Contempt (Doc. 485) and the Court issued a

Contempt Order requiring the City of Atlanta finally to clear the backlog within

60 days, by April 30, 2023 (Doc. 485):

              The City is ordered to finally adjudicate each citizen
              complaint that has been open more than 120 days as of
              the date of this Order within the next sixty days. The
              City shall pay a sanction of $1,000 for each day that each
              such investigation remains open beyond this deadline.

              3/1/2023 Contempt Order (Doc. 492), Section I(B).

      The Court’s Contempt Order effectively sent the City the message, “Get

this fixed and get it fixed in 60 days,” and by imposing coercive sanctions that

begin on day 61 the Court seemed to be telling the City, “60 days means 60

days.”

      After the end of that 60-day period, on May 15, 2023, the City provided

Plaintiffs with a spreadsheet reporting that all overdue investigations had been

closed within the 60-day period set by the Court. In other words, the City’s

produced a spreadsheet that purported to demonstrate full compliance with the




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Contempt Order issued by the Court.3 But the spreadsheet produced by the City

of Atlanta contains false information: the City simply lied about the dates that

Citizen Complaints were resolved. In fact, very few – and possibly none – of the

Citizen Complaints were “fully adjudicated” within the Court’s 60-day deadline,

as described below.



      1. When is a Citizen Complaint “Finally Adjudicated”?

      The date a Citizen Complaint is “finally adjudicated” is the date the

Atlanta Police Department notifies the complainant of the final disposition of the

complaint and the nature of any discipline imposed.4

      When a Citizen Complaint investigation is concluded the Atlanta Police

Department’s Office of Professional Standards (“OPS”), which investigates

complaints against Atlanta police officers, sends a notification letter

(“Notification Letter”) to the complainant by Certified Mail. (See example at

Exhibit B). For the purpose of calculating compliance with the 180 Day Rule the



3 Exhibit A is a copy of the spreadsheet produced by the City for Citizen

Complaints purportedly closed in April, 2023. The column headed “Inc:
Completed date” reported that all Citizen Complaints had been completed
before April 30.

4 3/1/2023 Contempt Order (Doc. 492), p. 5, fn. 7.




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Plaintiffs have traditionally looked to the date on this Notification Letter to

determine when a Citizen Complaint was “finally adjudicated” (with the

assumption that the date on the letter generally reflects the date the letter was

mailed).5

      But while the completion dates reported by the City on its spreadsheet

indicate that all overdue complaints were resolved before April 30, 2023 – and

thus within the 60-day period provided by the Court -- examination of the

Notification Letters in the actual OPS files revealed that the City provided false

dates for the “completion” of almost all Citizen Complaints reported on its

spreadsheet, and possibly all of them.



      2. The City’s 5/15/2023 spreadsheet contains false completion dates

      The 80 Citizen Complaints the City claimed to have “closed” during April,

2023 are listed on Exhibit C, which indicates (1) the “Completed Date” reported



5 While the Court established the date of final adjudication as “the date the

Atlanta Police Department notified the complainant,” and this suggests the date
the complainant received notification, in fairness to the City the Plaintiffs have
traditionally considered a Citizen Complaint completed on the date APD mailed
the Notification Letter, since APD cannot control the speed with which the
United States Postal Service delivers mail. For this motion, therefore, Plaintiffs
will focus on the date these letters were mailed rather than on the date they were
received by the complainant.



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by the City; (2) the date on each Notification Letter; and (3) the date each

Notification Letters was accepted for mailing by the United States Postal Service.6

      For every single Citizen Complaint for which the City produced a

Notification Letter – 46 Citizen Complaints – the date on the Notification Letters

is after the “completed date” reported by the City.7 To make things worse, the

actual dates the United States Postal Service received the letters for mailing,

according to the USPS tracking information, was between 12 and 37 days later

than the false completion date reported by the City; in other words, some

Notification Letters were actually mailed more than a month after the

“completion date” falsely reported by the City.

      As just one example, the City’s spreadsheet reports that OPS File # 22-C-

0414-MISC (which had been open 132 days on the date of the Contempt Order,

and was thus required to be closed by April 30, 2023) was “completed” on




6 For two of the 80 Citizen Complaints the City produced no OPS file at all – in

violation of Section III(C)(b) of the 11/29/2018 Court Order – and so no analysis
could be performed, and for 32 complaints the OPS file did not contain a
Notification Letter, as discussed below.
7 As seen on Exhibit C, 23 of the Notification Letters were dated about two weeks

after the “completion date” reported by the City; five Notification Letters were
dated three weeks later; and three Notification Letters were dated almost a full
month later (OPS File # 22-C-0073-UAF at 27 days and OPS File # 23-C-0049-
MISC at 28 days).


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4/26/2023, in compliance with the Court’s deadline. But the Notification Letter

is dated 5/3/20023, seven days after the completion date falsely reported by the

City and after the Court’s deadline (Exhibit D). In addition, the USPS tracking

information for that letter (Certified Mail Tracking # 70221670000301160695)

indicates that it was not received by USPS until May 9, 2023, thirteen days after

the completion date falsely reported by the City.

      Perhaps even more significantly, the OPS files produced by the City

contain no Notification Letter at all for 34 of the 80 Citizen Complaints allegedly

completed in April 2023 (See Exhibit C), suggesting not only that these Citizen

Complaints were not completed before the April 30 deadline, but that they may

remain open even today.8


8 To determine the extent of the City’s non-compliance, and calculate the

applicable financial sanction (since the sanctions are calculated on a per day
basis), it is necessary to learn when – or if -- these 34 missing Notification Letters
were sent, and Plaintiffs will serve discovery requiring the City to produce these
letters in their original digital format, with metadata intact, so the date of each
Notification Letter can be determined.

In addition, since the City is now aware that Plaintiffs use the Certified Mail
tracking number of Notification Letters to confirm when and whether they are
mailed, it is conceivable the City may stop sending these letters by Certified Mail
and use an untrackable method, such as First Class Mail, to frustrate Plaintiffs’
ability to monitor the City’s compliance. Plaintiffs therefore ask this Court to
order that these Notification Letters continue to be sent by Certified Mail, or by
some other trackable means such as Priority Mail, FedEx, UPS, or any other
method that provides tracking data.



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      3. Virtually none of the Notification Letters satisfy the requirements of
         Final Adjudication


      In addition to being mailed after the deadline imposed by the Court,

almost none of the Notification Letters sent by the City meet the requirements for

a Citizen Complaint to be considered “finally adjudicated.”

      An essential element of “final adjudication” involves the complainant

being notified of the result of the investigation. To make sure the complainant

learns the result of his or her complaint the Court defined what is required for a

Citizen Complaint to be “finally adjudicated”:

            To avoid any possibility of misunderstanding …“the
            date that the complaint was finally adjudicated” is the
            date the Atlanta Police Department notified the
            complainant of “the final disposition of the complaint
            (i.e., whether the complaint was sustained, not sustained,
            unfounded, or exonerated) and the nature of any
            discipline imposed (e.g., oral admonishment, written
            reprimand, the duration of any suspension, dismissal,
            etc.).”

            March 1, 2023 Court Order (Doc. 492) p. 5, fn. 7.

      Because none of the Notification Letters sent by the City comply with these

requirements, none of them serve to close the Citizen Complaints.

      While the Notification Letters do arguably use language from which the

general disposition can be inferred, none explicitly inform the complainant of the

actual disposition of their complaint (“i.e., whether the complaint was sustained,

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not sustained, unfounded, or exonerated”), and in some cases the City sent

nonsensical Notification Letters that provide no meaningful information to the

complainant at all. For example, in the Notification Letter for OPS File # 22-C-

0050-SOP (attached as Exhibit E) one paragraph states “Sufficient information

was gathered to prove the actions taken by Officer K. Wadsworth was lawful,

proper and within the guidelines” while the next paragraph states “The

investigation did develop sufficient information to prove the allegation stated in

your complaint regarding Officer K. Wadsworth. Therefore, appropriate

corrective actions have been taken against these officers.” Internally-

contradictory letters like these are essentially gibberish to the complainant, and

do not communicate the final adjudication of his or her complaint.

      Other Notification Letters also fail to effectively close a Citizen Complaint

because the information they provide is false. For example, the complainant in

OPS File # 22-C-0393-SOP was informed (See Exhibit F) :

            The investigation did not develop sufficient information
            to prove or disprove the allegation regarding Work Rule
            4.2.23 GIVING IDENTIFICATION. Therefore, at this
            time this allegation is closed.

            Your allegation of misconduct regarding work rule 4.2.33
            CONFORMANCE TO DIRECTIVES has been
            investigated. Sufficient information was gathered to
            prove the action taken by this officer was lawful, proper
            and within the guidelines. Therefore, at this time the
            complaint is closed.

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In other words, the complainant was informed that the officer was fully cleared

and that no action was taken against the officer. But, in fact, one of the charges

was Sustained, and the officer was disciplined with an Oral Admonishment (See

Exhibit G).

      The Notification Letters also never specify the particular allegations that

were investigated and so complainants are never told how their specific complaints

were resolved or if they were resolved. This is additionally problematic because

OPS frequently investigates and imposes discipline for internal matters that were

never raised by the complainant (such as an officer’s failure to activate a Body

Worn Camera) without resolving the complaint that was actually made by the

civilian (e.g., excessive force). For example, the complainant in OPS File # 21-C-

0481-SOP alleged that officers used excessive force (Exhibit H). The complainant

was sent a Notification Letter that stated, “A preliminary investigation did

develop sufficient information to prove the allegation stated in your complaint.

Therefore, appropriate corrective actions have been taken against these officers.”

(Exhibit I). The complainant was therefore led to believe – falsely – that her

complaint of excessive force had been sustained and the officers disciplined for

it, when in fact none of the officers were investigated or disciplined for excessive

force; they were investigated and disciplined for technical SOP violations

relating to Extra Job Permits and the use of Body Worn Cameras (See Exhibit J).

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       In addition, in cases where Citizen Complaints were sustained and

discipline was imposed, not a single Notification Letter complied with this

Court’s requirement to notify the complainant of …“the nature of any discipline

imposed (e.g., oral admonishment, written reprimand, the duration of any

suspension, dismissal, etc.).” The Notification Letters sent by the Atlanta Police

Department (even those sent after the Court issued its Contempt Order clarifying

that complainants must be told the specific discipline imposed for a complaint to

be considered “fully adjudicated”) never say anything more than that

“appropriate corrective actions have been taken against these officers and this

file is closed.” (Exhibit I).

       Since the City has failed to send Notification Letters that comply with the

explicit requirements set by this Court to qualify as “final adjudication” --

leaving complainants uninformed, and in some cases misinformed, of the result

of the complaints -- none of the overdue Citizen Complaints have been finally

adjudicated as defined by this Court.



       4. Should the City’s failure be excused?

       As some of these Citizen Complaints were allegedly “completed” just a

few days after the Court’s April 30, 2023 deadline, Plaintiffs considered whether

it would be appropriate to overlook the City’s non-compliance, but several

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factors seem to incline against such forgiveness. One factor, naturally, is the

clarity of the Court’s order requiring the overdue complaints be closed within 60

days, which the Court additionally emphasized by adopting per-day sanctions

that begin on day 61. Another factor is the extreme extent of the City’s non-

compliance; if just a few Citizen Complaints had exceeded the April 30 deadline

forgiveness might have seemed appropriate, but of the 80 Citizen Complaints

allegedly closed in April the City apparently did not mail a single Notification Letter

before April 30, 2023. An additional factor is how long many many of these

complaints had already been open on April 30, 2023 -- in some cases, years -- and

thus how much time the City had already been given to close these complaints

(See Exhibit K).

      But perhaps the decisive factor weighing in favor of imposing the pre-

determined sanctions is the City’s choice to deal with its non-compliance with

dishonesty, rather than by requesting more time or even just asking forgiveness.

      When the Court gave the City 60 days to resolve overdue complaints, if the

City believed compliance would be difficult or impossible to accomplish the City

could have objected or moved for re-consideration, but the City chose not to do

so. And as the end of the 60-day period approached, if the City believed it

needed more time to resolve the complaints, the City could have asked Plaintiffs

or the Court for an extension, but it chose not to do so. And after the expiration

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of the 60-day period, the City could have informed Plaintiffs and the Court that it

had diligently attempted compliance but had been unable to complete the task,

and such a request for forgiveness would likely have been looked upon

sympathetically by both Plaintiffs and the Court. But instead of doing any of

those things, the City attempted to cover up its non-compliance by submitting

false information.9



   II.      The City of Atlanta should be sanctioned for providing large amounts
            of inaccurate information, pursuant to Sections I(E) and I(F) of the
            Contempt Order

         The City Atlanta has a long history of providing inaccurate information

regarding Citizen Complaints to the Plaintiffs, resulting in the imposition of a

sanction of $25,000 that was suspended “for so long as the City provides accurate

information regarding the matters related to the consent order at all times in the

future,” and prospective sanctions “of $1,000 for each separate item of inaccurate




9 Arguably, by failing to resolve complaints that had been open more than 120

days on the date of the Contempt Order, the City of Atlanta also triggered the
suspended sanction set forth in Section I(A) of the Contempt Order. The 60 day
period set forth in Section I(B) can be viewed as a grace period for complaints
that were months and years past the 180 Day Rule, and by failing to close them
within this grace period the City could be said to have forfeited the benefit of this
grace period, triggering the suspended sanction for violating the 180 Day Rule.


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information provided to Plaintiffs or the Court in the future.” (Contempt Order,

to Sections I(E) and I(F)).

      Despite the threat of these sanctions, and the specificity of this Court’s

expectations as to scrupulous accuracy (see footnote 11, infra), the May 15, 2023

spreadsheet produced to the Plaintiffs by the City of Atlanta contains hundreds

of items of inaccurate information.10

      This false information includes the most important data in these

spreadsheets -- the dates that Citizen Complaints were made, and the dates they

were “finally adjudicated,” which are the dates used to calculate compliance

with the 180 Day Rule – and the City also provided inaccurate information about

dozens of allegations, dispositions, and instances of discipline as indicated in

Exhibit L.

      In all, there are hundreds of instances of inaccurate information in the

City’s spreadsheet, each triggering a $1000 sanction.11 Exhibit A is a copy of the




10 The Plaintiffs have not analyzed the accuracy of the information provided by

the City on March 15, 2023 and April 15, 2023 because these months fell during
the first two months in which the City was adjusting to the Contempt Order
issued on March 1, 2023.
11
  “By way of example, in the monthly spreadsheets produced by the City, an
incorrect complaint date, an incorrect complaint resolution date, an incorrect
disposition of an individual allegation, and an incorrect disciplinary sanction for

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spreadsheet provided by the City for Citizen Complaints (purportedly) closed

during April, 2023, and Exhibit L is that same spreadsheet annotated by

Plaintiffs; the annotated spreadsheet illustrates each inaccurate piece of

information in bold red text, along with the accurate information in green text for

comparison.12



      1. False Complaint Dates

      The date a Citizen Complaint is presented to the Atlanta Police

Department (the date a complaint is “opened”) is the day the 180 day clock starts

ticking, and so it is essential for this date to be reported correctly to monitor the

City’s compliance with the 180 Day Rule. Yet in the spreadsheet produced to

Plaintiffs on May 15, 2023, at least 95% of the complaint dates were inaccurate: of

the 76 Citizen Complaints for which the City produced a copy of the original

complaint document, the City’s spreadsheet reported a false complaint date for




an individual allegation, shall each be considered a separate item of inaccurate
information.” 3/1/2023 Contempt Order (Doc. 492), p. 6, fn. 8.

12 The items in blue are likely inaccurate, but this can be determined conclusively

only when Plaintiffs receive and examine the “Notification Letter” files requested
in discovery.



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72 Citizen Complaints, and these false dates undercounted the time these

Complaints remained open by between 1 and 215 days (Exhibit M).13



      2. False Completion Dates

      In addition to providing inaccurate information about the dates Citizen

Complaints were opened, the City also provided false information for the date

Citizen Complaints were completed as discussed above; the City provided false

completion dates for at least 48 and possibly as many as 80 Citizen Complaints.



      3. False Information about complaint allegations, dispositions, and
         discipline

      The City’s spreadsheet also includes dozens of items of false information

about the allegations, dispositions, and discipline imposed with regard to

numerous Citizen Complaints; these are indicated in bold red text on Exhibit L.




13 The City claims to have closed 80 Citizen Complaints in April, 2023. For two of

these complaints, no OPS file at all was produced, and for two other complaints,
the OPS file did not contain the original complaint document, so the complaint
dates could not be established; for four complaints, the City accurately reported
the date the complaint was made; for the remaining 72 complaints, the City’s
spreadsheet reported a false complaint date.

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   III.      Conclusion

          This Court has given the City chance after chance. After Plaintiffs’ First

Motion for Contempt the Court gave the City 120 days to clean up its act

(9/20/22 Court Order, Doc. 479) and the City did not do so. Then the Court’s

Contempt Order suspended sanctions for past contempt if the City would simply

comply in the future, effectively forgiving past misconduct with the admonition,

“Go and sin no more.” And yet here we are.

          Clearly only a painful penalty will get the City’s attention, and so

Plaintiffs close this motion with the same words we used to close our Submission

of Proposed Order on Contempt (Doc. 490, at p. 17): “Plaintiffs ask the Court to

be guided by the following thought in determining sanctions: This has gone on

long enough.”

          Respectfully submitted this 31st day of May, 2023.14

                                    ATTORNEYS FOR PLAINTIFFS

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14 Counsel hereby certifies that this document has been prepared in Book

Antiqua font (13 point) in accordance with Local Rule 5.1(C)

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                  UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION
______________________________________________________________
GEOFFREY CALHOUN, et al.          )
                                  )
      Plaintiffs,                 )
                                  ) Civil Action
             v.                   ) File No. 1:09-CV-3286-TCB
                                  )
RICHARD PENNINGTON, et al.        )
                                  )
      Defendants.                 )

                          CERTIFICATE OF SERVICE

I hereby certify that I have this day electronically submitted the foregoing
PLAINTIFFS’ MOTION TO IMPOSE SUSPENDED SANCTIONS
AND PREDETERMINED COERCIVE SANCTIONS to the Clerk of Court using
the CM/ECF system which will automatically send electronic mail notification of
such filing to counsel of record who are on CM/ECF.

      So certified this 31st day of May, 2023.

                         By:    Daniel J. Grossman
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